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 1                                        THE HONORABLE JAMES L. ROBART
 2

 3

 4

 5
                         UNITED STATES DISTRICT COURT
 6                      WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE
 7

 8
     AUBRY MCMAHON,
 9                                              CASE NO. 2:21-CV-00920-JLR
                 Plaintiff,
10
                                                DEFENDANT’S MOTION FOR
11        vs.                                   SUMMARY JUDGMENT AND
                                                SUPPORTING MEMORANDUM
12   WORLD VISION, INC.
13                                              NOTE ON MOTION CALENDAR:
                Defendant.                      May 5, 2023
14

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                                                          Seattle, WA 98101-1820
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 1          Defendant World Vision, Inc. (“World Vision” or “WV”) requests summary
 2
     judgment in its favor in this action alleging sex-based discrimination under Title VII
 3
     of the Civil Rights Act of 1964 and the Washington Law Against Discrimination
 4

 5   (“WLAD”). This Court dismissed a similar case involving World Vision in 2008.

 6   Spencer v. World Vision, Inc., 570 F.Supp.2d 1279 (W.D.Wash. 2008), aff’d as amended on
 7
     denial of reh’g en banc, 633 F.3d 723 (9th Cir.), cert. denied, 565 U.S. 816 (2011). The same
 8
     result is required here.1
 9
            I.   OVERVIEW.
10

11          World Vision rescinded Plaintiff’s job offer after she disclosed her same-sex

12   marriage (“SSM”). The reason is undisputed: enforcement of WV’s prohibition against
13
     “sexual conduct outside the Biblical covenant of marriage between a man and a
14
     woman.” MF ¶¶41, 42-46; Compl. ¶5.16; Answer ¶5.16; Pl.’s Dep.; SW-01, at 238. In
15

16   response, Plaintiff has asserted two sex-related claims, one under Title VII (and Bostock

17   v. Clayton Cty., 140 S.Ct. 1731 (2020)) and one under WLAD. Both claims are
18
     inextricably premised upon her disagreement with WV’s biblical understanding of
19
     Christian love and marriage (infra at 6-7)—a religious dispute beyond court
20

21   jurisdiction. In any event, Title VII and WLAD each contain a religious organization

22   exemption (“ROE”) to protect such “religious convictions.” Id. at 1753.
23

24
     1 Spencer’s key factual findings about WV are reaffirmed as currently accurate via the attached
25
     Declarations of Scott Ward (“SW”), Melanie Freiberg (“MF”), and Shannon Osborne (“SO”).
26   Their authenticated exhibits are denoted, e.g., SW-01 for SW-Exhibit 1. References to a
     paragraph also refer to Exhibit(s) referenced in that paragraph, e.g., MF ¶7 incorporates by
27   reference Exhibits MF-01 and MF-02 therein.

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 1          This is not a typical discrimination case where a secular employer is accused of
 2
     invidious discrimination. Rather, this case is about a deeply religious employer
 3
     exercising its religious freedom in staffing. The key issues were decided by this Court
 4

 5   and the Ninth Circuit in Spencer. Plaintiff’s claims cannot be resolved in her favor

 6   because they involve (a) a theological dispute and (b) an employment decision
 7
     protected by the First Amendment and by the ROEs. Based on facts that are either
 8
     undisputed or indisputable, WV is entitled to judgment on both claims.
 9
            II. ROE OVERVIEW: SPENCER & GARCIA.
10

11          The Religious Organization Exemption belongs to the religious organization—the

12   employer—and is based solely on its religious faith, not the employee’s. Spencer and
13
     Garcia v. Salvation Army, 918 F.3d 997 (9th Cir. 2019) govern here.
14
            In Spencer, WV terminated employees who “denied the deity of Jesus Christ.”
15

16   570 F.Supp.2d at 1282. In Garcia, Salvation Army terminated an employee after she

17   stopped attending its religious services. 918 F.3d at 1002. In both cases, former
18
     employees alleged illegal religious discrimination as claims. In both cases, religious
19
     employers invoked their religious standards as defenses. Using different tests, each
20

21   panel upheld summary judgment for the employer based on the ROE, which “permits

22   religious organizations to discriminate based on religion.” Id. at 1006.
23
            The Spencer panel aligned with this Court on the facts. “World Vision, Inc. is a
24
     nonprofit Christian humanitarian organization,” 570 F.Supp.2d at 1281, whose “relief
25

26   efforts flow from a profound sense of religious mission.” 633 F.3d at 741. It “explicitly

27   and intentionally holds itself out to the public as a religious institution,” where

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 1   “religion pervades the workplace.” Id. Its “Christian witness is integrated into [and]
 2
     communicated as part of [all it] does,” id. at 739, and its “overt Christianity is especially
 3
     evident to those applying for” jobs. Id. The panel affirmed this Court’s judgment that
 4

 5   WV’s “purpose and character are primarily religious,” 570 F.Supp.2d at 1289 (quoting

 6   EEOC v. Townley Engineering, 859 F.2d 610, 618 (9th Cir. 1988)), under a revised test:
 7
            [W]orld Vision, Inc. qualifies [for the ROE since] it [1] is organized for a
 8          religious purpose, [2] is engaged primarily in carrying out that religious
            purpose, [3] holds itself out to the public as an entity for carrying out that
 9          religious purpose, and [4] does not engage primarily or substantially in
10          the exchange of goods or services for money beyond nominal amounts.2

11          The Garcia panel used this four-part test. It also used Townley’s primarily

12   religious test, Garcia, at 1003-04, as this Court had in Spencer. Whether Garcia is viewed
13
     as modifying Spencer or reasserting Townley, World Vision meets every ROE test.
14
            III. FACT OVERVIEW: DECISIVE ISSUES OF RELIGIOUS CHARACTER.
15

16          This case rests on five religious facts or traits. All are undisputed or

17   indisputable. They are the religious character or nature of (A) the employer, (B) the
18
     job, (C) the dispute, (D) the employee’s misconduct, and (E) the free exercise defense.
19
            A. Religious Nature of the Employer: Primarily Religious (ROE/U.S. Const.).
20

21          Spencer’s findings ordain the outcome here. First, they prove WV’s ongoing

22   entitlement to the ROE under Spencer and Garcia by establishing that WV (1) exists for
23
     a (primarily) religious purpose, (2) is engaged primarily in carrying out that purpose
24

25
     2 633 F.3d at 724. Spencer’s majority includes the per curiam plus Part I (intro) and Part II
26   (general legal analysis) of Judge O’Scannlain’s three-part opinion. Id. at 741 (Kleinfeld, J.) (“I
     concur in Parts I and II of Judge O’Scannlain’s” opinion). It also includes the factual findings
27   in Part III (ROE test) that sustains the per curiam holding. It only excludes a portion of Part III.

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 1   (evincing its primarily religious character), (3) holds itself out to the public as such,
 2
     and (4) does not engage in certain commerce beyond nominal amounts. Second, they
 3
     prove WV’s entitlement to First Amendment protection.
 4

 5          WV is a “church” under federal tax law and exists exclusively for religious

 6   purposes. Spencer, 570 F.Supp.2d at 1286-87 (quoting WV Articles and Bylaws); accord
 7
     MF ¶¶19, 27(b). “[P]rospective employees are informed” that “‘our faith in Jesus [is]
 8
     at the heart of all we do,’” and “‘[f]oundational to our work is the commitment to a
 9

10   shared faith by staff [and] a common understanding of how that faith is lived out day-

11   to-day.’” Id. at 1282; 1287-88 (Christian character and activities of WV and its
12   employees); accord MF ¶¶25, 27(c)&(d). This Court held:
13
            [All] nine factors demonstrate[ that World Vision’s] purpose and
14          character are primarily religious. Plaintiffs have not shown [a] genuine
            issue of material fact on [its] qualification for the [ROE. Thus, it is]
15
            exempt from Title VII. [Id. at 1289 (emphasis added).]
16
            The appellate panel affirmed this Court’s judgment, ruling that WV met the
17

18   panel’s four-part test, based on the facts set out in the lead opinion. 633 F.3d at 736-41.

19          Even a cursory review of World Vision’s [foundational documents]
            reveal explicit and overt references to a religious purpose. [This includes]
20
            the commitment to ‘continually and steadfastly uphold and maintain the
21          following statement of faith,’ which begins: ‘We believe the Bible to be
            the inspired, the only infallible, authoritative Word of God.’
22

23   Id. at 736; accord MF ¶¶20-22, 25, 27(e)&(f), 45, 54 (www.worldvision.org/statement-

24   of-faith). All its core “principles are avowedly religious.” Id. at 737; accord MF ¶27(f).
25
            World Vision [‘expresses its] Christian faith accurately and with
26          integrity’ [and] ‘always identifies itself [as] Christian[.]’ [E]mployees are
            to ask themselves, ‘Would anyone who read this know that World Vision
27          is a Christian organization?’ [‘Our witness is] NOT AN ADD-ON.

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 1          Because we demonstrate our faith through life, deed, word, and sign, our
            Christian witness is integrated into [and] communicated as part of
 2
            everything [we do].’
 3
     Id. at 738-39; accord MF ¶¶26, 27(g), 36. “This overt Christianity is especially evident to
 4

 5   those applying for employment[.]” Id. “[P]rospective employees [are] specifically

 6   requested to describe their ‘relationship with Jesus Christ’” and are “informed that
 7
     employment is contingent upon” their faithfully following Christ. Id. at 739-41. Accord
 8
     MF ¶¶25, 27(h). WV’s “relief efforts flow from a profound sense of religious mission
 9

10   [and] it explicitly and intentionally holds itself out to the public as [such].” Id. at 739-

11   41. Accord Answer ¶5.8; MF ¶¶25, 27(d)(j)&(l).3

12          B. Religious Nature of the Job: Ministerial (Ministerial Exception).
13
            On January 5, 2021, WV offered Plaintiff the job she applied for: “DSR Trainee.”
14
     Offer Letter, MF-03 (P0009). If she passed 9-11 weeks training, she would join Donor
15

16   Contact Services (“DCS”). Id.4 She would tell WV’s supporters about its religious

17   activities, especially its program that connects donors to children to support and pray
18
     for the children, who also may wish to “learn about the Christian faith.” 633 F.3d at
19
     737. According to her own evidence, she would:
20

21          Help carry out our Christian organization’s mission, vision, and
            strategies. Personify the ministry of [WV] by witnessing to Christ and
22          ministering to others through life, deed, word and sign. [K]eep Christ
23          central in our individual and corporate lives. Attend and participate in
            the leadership of devotions, weekly Chapel services, and regular prayer.
24          [Be] sensitive to Donor’s needs and pray with them when appropriate.
25

26   3 For readability, ‘internal quotation marks’ are omitted from Spencer excerpts hereinafter.

27   4 “DCSR” herein means DCS Representative (“DSRT” while in Training). See SO ¶6-7; MF ¶5.


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 1   Job Posting-2020, SO-01 (P0013-15). In addition to “participat[ing] in the leadership
 2
     [of] regular prayer” and “pray[ing] with” donors, id., Plaintiff would be a “crucial
 3
     member” of DCS and a “key liaison and ‘voice of World Vision’ to our donors and the
 4

 5   general public.” Job Posting-2022, SO-11 (WV184).5 Finally, she would reflect WV’s

 6   faith and ministry to its donors—its lifeblood. Viewing a DCS-led chapel service will
 7
     leave no doubt. See evidence discussed infra.
 8
            C. Religious Nature of this Dispute: What Is Christian Love and Marriage?
 9
            Like WV, Plaintiff professes to be “Christian” and to believe the Bible is the
10

11   “word of God.” Pl.’s Dep., SW-01, at 12-17, 165. She agrees that WV “get[s] to say [the]

12   employees they want to hire … are Christian,” id. at 167, and affirm they are “Christian
13
     [and] believe in the Apostle’s Creed,” because “those are things that most … if not all,
14
     Christians would agree with and abide by and live by,” id. at 164. Plaintiff agrees that
15

16   WV could “require that its employees believe in the Bible,” and “in the Trinity, Father,

17   Son, and Holy Spirit,” and terminate on this basis because it “want[s its] employees to
18
     believe in the Apostles’ Creed.” Id. at 176. She agrees “that keeping Christ central in
19
     our lives is important and especially also in the corporate life.” Id. at 174; see id. at 157,
20

21   160, 164, 168. The latter requirement is “huge[ly] important,” id. at 164, so much so that

22   “World Vision could terminate [anyone who] didn’t keep Christ central in our
23
     individual and corporate lives” if WV “were able to prove it.” Id. at 173.
24

25

26

27   5 The 2022 Job Posting contains clarifying but insubstantial differences. See SO ¶24 & n.1.


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 1          All that is agreed.6 Where the parties disagree is the biblical doctrine of
 2
     Christian love and marriage.
 3
            World Vision policy defines these concepts from the Bible as the “authoritative
 4

 5   Word of God.” Spencer, 633 F.3d at 738. WV seeks to honor God by requiring all staff

 6   to “[f]ollow the living Christ, individually and corporately in faith and conduct,
 7
     publicly and privately, in accord with the teaching in His Word (the Bible).” MF ¶¶38,
 8
     32 (CCW Policy). Thus, World Vision requires that staff “behavior [be] consistent with
 9

10   the teachings of Scripture.” MF ¶¶39, 33 (BECC Policy). Because it is “impossible … to

11   identify every form of behavior that we understand the Bible defines as acceptable and
12   unacceptable to God,” WV provides Standards of Conduct to “clarify expectations and
13
     assist candidates/employees in deciding whether or not WVUS is the right place for
14
     them to serve the Lord.” MF ¶40 (SOC).7 One such behavior is sexual conduct.
15

16          World Vision defines marriage as the “Biblical covenant … between a man and

17   a woman.” MF ¶¶41, 42-46 (SOC). In WV’s view, the Bible confines the “express[ion
18
     of] sexuality solely within a faithful marriage between a man and a woman.” MF ¶42.
19
     WV seeks to “honor this Biblical model of a monogamous heterosexual marriage.” MF
20

21   ¶¶42, 47. For WV, any sexual conduct outside this biblical covenant—“being sexually

22   active with someone other than your spouse of the opposite sex”—is a sin and, like
23
     any other sin, requires “repentance when we fail.” MF ¶44. WV believes “all have
24

25
     6 Plaintiff also believes she met WV’s Christian requirements. Id. at 155-57.
26
     7 See also the SOC in effect during Spencer: SOC of 3/31/2007 at §II(K), SW ¶8 at SW-06
27   (WV2371) and SW-07 (WV2625). See also SW-08 (WV2775-79) (Dep. Tr. discussing SOC).

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 1   sinned,” but that Christians, when they sin, must “return” to God “in repentance.” Id.
 2
     To WV, SSM reflects “open, ongoing, unrepentant” sin contrary to its “deeply held
 3
     belief that marriage is a Biblical covenant between a man and a woman.” Id.8
 4

 5          Plaintiff disagrees. She believes marriage, from “a religious standpoint,” is

 6   “who you love.” Pl.’s Dep., SW-01, at 21. She sees no “Bible verses or teachings …
 7
     around marriage” that disqualify or refute her views. Id. at 22. See also id. at 96-97, 164,
 8
     183. She simply has “a different understanding of what the unconditional love of Jesus
 9

10   means,” id., a “very different understanding of what the Bible says,” id. at 97-98. She

11   believes that WV’s understanding is “wrong.” Id. at 183-84. This theological dispute over

12   Scriptural interpretation is the only material factual “disagreement with World Vision that’s
13
     at issue in this lawsuit.” Id. at 184 (emphasis added).
14
            D. Religious Nature of Misconduct: Plaintiff’s Actions Defied WV Policy.
15

16          Plaintiff pleads two claims, one federal and one state, based on “sex, marital

17   status, and/or sexual orientation.” Compl. ¶1.1. Both claims rest on one basis: WV’s
18
     policy that forbids “sexual conduct outside the Biblical covenant of marriage between
19
     a man and a woman,” MF ¶¶41, 42-46; see also Compl. ¶5.16; Answer ¶5.16; Pl.’s Dep.,
20

21   SW-01, at 238, to which “[a]ll staff shall be required to agree [and] comply.” MF ¶46

22

23
     8 “People of any sexual orientation can work at World Vision as long as they agree with our
24
     statement of faith and abide by our conduct policy. [We hire] people who live out biblical
25   standards of conduct. We expect all employees, regardless of sexual orientation, to live by
     these standards, outlined in our conduct policy, including remaining celibate outside of
26   marriage. It’s our deeply held belief that marriage is a Biblical covenant between a man and a
     woman. This is made clear to people applying to work at World Vision. [O]ur stance [reflects]
27   our interpretation of Scripture.” MF ¶45 (emphasis added). See also id. (listing policies).

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 1   (Board Standing Policy) (“Failure to do so may require disciplinary action or
 2
     termination.”). It is undisputed that this policy embodies WV’s deeply held belief in
 3
     the “Biblical model of a monogamous heterosexual marriage.” Supra at 6-7. Her same-
 4

 5   sex marriage contravenes World Vision’s biblical policy in several ways. First, entering

 6   into and living in a SSM defies World Vision’s religious understanding of and policy
 7
     regarding biblical marriage. Second, living openly in a SSM embodies an ongoing
 8
     public stance promoting such conduct. Third, an SSM indicates sexual conduct that
 9

10   does not comply with WV’s religious beliefs and conduct standards. MF ¶46.

11          E. Religious Nature of Religious Discrimination as a Defense (Spencer 2.0).

12          In typical Title VII cases, secular employers differentiate unjustly due to
13
     employees’ religion, e.g., a secular employer refusing to hire Muslims due to their
14
     religion. The employer’s invidious “religious discrimination” establishes the
15

16   employees’ claims. In atypical cases as here, religious employers differentiate justly

17   based on the employers’ own religion, e.g., a Muslim ministry refusing to hire
18
     Christians because that would undermine its religious exercise. The employer’s
19
     noninvidious “religious discrimination” establishes its defense—its legally guaranteed
20

21   free exercise of religion. That was the case in Spencer. This case is Spencer 2.0.

22          IV. GOVERNING LEGAL STANDARDS.
23
            The standards for summary judgment are clear. See Spencer, 570 F.Supp.2d at
24
     1282. “[D]ifferences of opinion on certain facts” are immaterial; only “material fact[s
25

26   that are] genuinely in dispute” and “essential to [the] holding” can defeat summary

27   judgment. Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S.Ct. 2049, 2056 n.1 (2020)

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 1   (“OLG”). The factors of McDonnell Douglas v. Green, 411 U.S. 792 (1973) (“MD”)
 2
     typically apply as part of a broader three-step test. Opara v. Yellen, 57 F.4th 709, 721
 3
     (9th Cir. 2023) (“Opara”). When religious employers are involved, courts “have
 4

 5   generally protected the autonomy of religious organization[s] to hire personnel who

 6   share their beliefs.” SUGM v. Woods, 142 S.Ct. 1094, 1094 (2022) (“SUGM”) (“Alito
 7
     Statement” on denial of cert.) (citing Little v. Wuerl, 929 F.2d 944 (3d Cir. 1991)
 8
     (“Little”); Kennedy v. St. Joseph’s Ministries, 657 F.3d 189 (4th Cir. 2011) (“SJM”); EEOC
 9

10   v. Mississippi College, 626 F.2d 477 (5th Cir. 1980) (“Miss. Coll.”); Hall v. Baptist Mem’l

11   Health Care, 215 F.3d 618 (6th Cir. 2000) (“Hall”); Killinger v. Samford Univ., 113 F.3d 196

12   (11th Cir. 1997) (“Killinger”)).
13
            V. ARGUMENT.
14
            On January 5, 2021, after World Vision confirmed with Plaintiff its offer of DSR
15

16   Trainee, MF ¶¶8-11, Plaintiff emailed WV that she and her wife were having a baby.

17   Id. On January 8, 2021, WV rescinded its offer and explained why. Id. at ¶¶12-13. It is
18
     undisputed that “World Vision’s policy on marriage as a biblical covenant between a
19
     man and a woman was the sole reason that the offer of employment was rescinded.”
20

21   Pl.’s Dep., SW-01, at 238; id. (“A: I think that it was rescinded because they found out

22   that … I was married to a woman, which went against their beliefs. Q: So their beliefs
23
     were the reason that the offer was rescinded? A: Yeah.”). Neither is there any dispute
24
     that this reason reflects “sincerely motivated religious exercise.”9
25

26

27   9 Kennedy v. Bremerton School District, 142 S.Ct. 2407, 2422 (U.S. 2022) (“Kennedy”).


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 1          Plaintiff asserts this reason was unlawful. But her case fails for five independent
 2
     reasons. (A) There is no jurisdiction over this theological dispute. (B) Even if there
 3
     were, Plaintiff’s federal claim lacks a valid basis and causation under Title VII. (C)
 4

 5   Even if viable, her federal claim is barred by Title VII’s ROE. (D) In any event, both

 6   claims are barred by the First Amendment under three separate doctrines: (1) religious
 7
     autonomy, (2) ministerial exception, and (3) strict scrutiny. (E) The ministerial
 8
     exception also satisfies the WLAD ROE, further barring the state claim.
 9
            A. The Court Lacks Jurisdiction to Resolve This Theological Dispute.
10

11          Under constitutional avoidance doctrine, the “proper sequence” starts with

12   statutory questions. Starkey v. Roman Catholic Archdiocese, 41 F.4th 931, 945 (7th Cir.
13
     2022) (Easterbrook, J., concurring) (“Easterbrook”). One exception is a threshold
14
     challenge to the Court’s jurisdiction. That is the case here.
15

16          “[C]ivil courts exercise no jurisdiction” over cases involving “theological

17   controversy.” Watson v. Jones, 80 U.S. 679, 733 (1871) (“Watson”). Because “religious
18
     controversies are not the proper subject of civil court inquiry,” courts must avoid this
19
     “religious thicket.” Serbian Eastern Orthodox v. Milivojevich, 426 U.S. 696, 713 (1976);
20

21   accord Demkovich v. St. Andrew, 3 F.4th 968, 981 (7th Cir. 2021) (en banc) (“Demkovich”).10

22   “[T]he Religion Clauses protect religious institutions [in] matters ‘of faith and doctrine’
23
     [against] government intrusion. [It] would obviously violate the free exercise of
24

25

26   10 See also Hosanna-Tabor Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171, 185 (2012)

     (unanimous) (“Hosanna”); SUGM, 142 S.Ct. at 1096 (Alito Statement); Kedroff v. St. Nicholas
27   Cathedral, 344 U.S. 94, 116 (1952) (“Kedroff”).

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 1   religion, and any attempt by government to dictate or even to influence such matters
 2
     would constitute [an] establishment of religion. The First Amendment outlaws such
 3
     intrusion.” OLG, 140 S.Ct. at 2060 (citations omitted). The intrusion is categorically
 4

 5   barred, without judicial scrutiny or balancing. This bar is “jurisdictional.”11

 6           Plaintiff does not dispute the sincerity of WV’s religious views on sexual
 7
     conduct and the “Biblical covenant of marriage.” She agrees that some religious
 8
     requirements are “huge[ly] important” and that WV may terminate employees for
 9

10   some such failures. Supra at 6. But she asserts that WV’s marriage policy misinterprets

11   the “Bible [that] being gay is a sin,” Pl.’s Dep., SW-01, at 96, reflecting “very strict …
12   biblical views,” id. at 115, that result from having “picked and chosen parts of the Bible
13
     [to agree or] disagree with.” Id. at 96-97. In her view, such “strict” “biblical views”
14
     disregard the “unconditional love” of Christ and fail to “keep Jesus’ love at the center.”
15

16   Id. at 182-83. Instead, she believes “Christianity, just like sexuality or any religion, is

17   fluid.” Id. at 177. See also id. at 93-99, 182, 201, 208-09, 257-60.
18
             Plaintiff has “a different understanding of what the unconditional love of Jesus
19
     means,” id. at 183, and a “very different understanding of what the Bible says,” id. at
20

21   97-98, and believes World Vision’s understanding is “wrong,” id. at 183-84. This

22   theological dispute is “central” to Plaintiff’s “disagreement with World Vision that’s
23
     at issue in this lawsuit.” Id. at 184. Courts cannot enter this “religious thicket.”
24

25

26
     11 Moon v. Moon, 431 F.Supp.3d 394, 404 (S.D.N.Y. 2019), aff’d as modified, 833 Fed.Appx. 876
27   (2d Cir. 2020), cert. denied, 141 S.Ct. 2757 (2021).

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 1          B. Plaintiff’s Federal Claim Lacks a Valid Basis and Causation.
 2
            If jurisdiction exists to proceed at all, Plaintiff must raise “a genuine issue” that
 3
     rescission of her job offer “was due in whole or in part to her” sex. Opara, 57 F.4th at
 4
     728. “[S]taving off a motion for summary judgment on disparate treatment claims
 5

 6   under … Title VII entails three steps” that may employ the burden-shifting framework

 7   of McDonnell Douglas. Id.
 8
                   1. Step One: Prima Facie Case (Untenable Here).
 9
            Plaintiff may establish her prima facie case with (1) direct evidence, (2)
10

11   circumstantial evidence, or (3) the applicable MD factors. Opara, at 722. A prima facie

12   case is not possible here.
13
            First, Plaintiff’s case has no valid basis because Title VII does not protect her
14
     class or activity. Neither sexual conduct outside of biblical marriage, nor the class of
15

16   those who promote it, is “protected by Title VII.” Curay-Cramer v. Ursuline Acad., 450

17   F.3d 130, 136 (3d Cir. 2006) (abortion advocacy not “activity protected by Title VII”).
18
     Second, and consequently, her conduct disqualifies her for the position under WV’s
19
     standards of conduct. Third, such standards do not result in similarly situated
20

21   individuals being treated differently. Fourth, and relatedly, she cannot show

22   causation. Since Title VII bans discrimination because of sex, 42 U.S.C. §2000e-2(a)(1),
23
     Plaintiff must show WV would not have rescinded her offer “but for” her sex—that it
24
     was based on “actions or attributes it would tolerate in an individual of another sex.”
25

26   Bostock, 140 S.Ct. at 1740; id. (using but for 26 times). She cannot. WV rescinded her

27   offer because of her sexual conduct outside biblical marriage and such conduct (or its open

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 1   promotion) required the same result regardless of gender (or orientation). See MF
 2
     ¶¶30-51; Maguire v. Marquette Univ., 814 F.2d 1213, 1218 (7th Cir. 1987) (given
 3
     plaintiff’s abortion stance, employer “would have reached the same decision even if
 4

 5   she were a man”).12 As Plaintiff “cannot satisfy the ‘but for’ standard of causation [her]

 6   claim of sex discrimination under Title VII fails as a matter of law.” Id.13
 7                  2. Step Two: Legitimate, Nondiscriminatory Reasons (Several Here).
 8
            Even if a prima facie case exists, WV has articulated a “legitimate,
 9
     nondiscriminatory reason” well recognized by courts. See, e.g., Cline v. Catholic Diocese,
10

11   206 F.3d 651, 658 (6th Cir. 1999) (religious employer may enforce its religious code of

12   conduct); Boyd v. Harding Acad., 88 F.3d 410, 414 (6th Cir. 1996) (same). Such reasons
13
     remain “legitimate” post-Bostock under Title VII and Title IX. 14 Since World Vision’s
14

15
     12 WV would have reached the same decision once Plaintiff’s public stance came to light, as

16   she is a “vocal advocate for a conflicting viewpoint.” Green v. Miss USA, 52 F.4th 773, 805 (9th
     Cir. 2022) (“Green”) (VanDyke, J., concurring). Plaintiff regularly has “publicly engaged in
17   conduct regarded by [WV] as inconsistent with its religious principles.” Little, 929 F.2d at 951;
     accord SJM, 657 F.3d at 192; Hall, 215 F.3d at 624. See generally, e.g., Bonfire, Just Be,
18   https://www.bonfire.com/store/just-be (sales of Plaintiff’s “Just Be” designs featuring her
19   SSM and advocating related views). Plaintiff testified of such advocacy, Pl.’s Dep., SW-01, at
     63-85, including that she and her wife are pursuing this very lawsuit “because we felt
20   [obligated to do so] as advocates [of] the LGBTQ community,” id. at 242, “so much so [that]
     when World Vision offered us a settlement [we] said we are not taking it.” Id. See also generally,
21   e.g., @GruenWeddings, https://twitter.com/GruenWeddings/status/1109508257565966337
     (“Wedding Experts Live Podcast” “joined today by Aubry McMahon who says she [was]
22   rejected by [a] wedding venue”); David Sentendrey, Lesbian Couple Says SC Venue Turned Them
23   Away, Queen City News (Mar. 6, 2019), https://www.qcnews.com/news/lesbian-couple-
     says-sc-wedding-venue-turned-them-away (TV news interviews of Plaintiff and her wife).
24   13 Bostock did not disturb conduct policies, “holding [only] that employers are prohibited from

25   firing employees on the basis of homosexuality or transgender status.” 140 S.Ct. at 1753. See
     Bear Creek Bible Church v. EEOC, 571 F. Supp. 3d 571, 623 (N.D. Tex. 2021) (“Bear Creek”).
26   14 Post-Bostock cases include, e.g., Maxon v. Fuller Theological Seminary, 2021 WL 5882035 (9th

27   Cir. 2021) (unpub.) (“Maxon”) (Title IX) (Fairless v. Harker, 2021 WL 1895347, at *5 (W.D.Wash.

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 1   burden “is one of production [only and] involve[s] no credibility assessment, [its]
 2
     proffered legitimate, nondiscriminatory reasons for its action are sufficient.” Opara, at
 3
     723-26 (citation omitted).
 4

 5                   3. Step Three: Pretext (Foreclosed Here, and None in Any Event).

 6           In any event, Plaintiff cannot show that WV’s articulated reason is pretextual,

 7   Opara, 57 F.4th at 723-24, for at least two reasons. First, pretext inquiry is prohibited
 8
     here. Since WV has presented “convincing evidence” that its policy is based on
 9
     religious precepts, there can be no “investigat[ion of] pretext,” EEOC v. Fremont
10

11   Christian Sch., 781 F.2d 1362, 1366 (9th Cir. 1986), i.e., whether such precepts are “false,”

12   Opara, 57 F.4th at 724, mistaken, or illogical. Plaintiff “cannot carry [her] burden at step
13
     three by instigating a “debate over whether [WV] really believes its position on
14
     marriage, or what [its] precise contours [are.]” Butler, 609 F.Supp.3d at 201.
15

16           Second, even if inquiry into pretext were permissible, there is nothing in the

17   record “creating a genuine issue as to whether [WV’s] proffered reasons were ‘false’
18
     or whether her termination was due in whole or in part to her [sex].” Opara, 57 F.4th
19
     at 729. Instead, “it is undisputed” that Plaintiff’s SSM contradicts WV’s biblical
20

21   marriage/conduct policy “even if [Plaintiff] disagrees” with that policy or its

22

23

24   2021) (“unpublished decisions have persuasive value and may be relied on”) (citing Ninth Cir.
     R. 36-3)); Bear Creek (Title VII); Butler v. St. Stanislaus Cath. Acad., 609 F.Supp.3d 184 (E.D.N.Y.,
25   2022), appeal dismissed (2d Cir. Aug. 25, 2022) (“Butler”) (Title VII); see Fleetwood v. WSU, 2022
     WL 2311252, at *11 (E.D.Wash. 2022) (MD applies to a “Title IX claim as it would [to] summary
26   judgment for a Title VII claim”). In Butler, as here, the employer’s action “was predicated on
     Butler’s statement of intended conduct, rather than his sexuality itself,” 609 F.Supp.3d at 189,
27   “a seeming rejection of the Church’s current position on same-sex marriage.” Id. at 204.

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 1   theological basis. Id. at 727. Indeed, Opara rejected the plaintiff’s “conclusory
 2
     allegations” that she would have fared better if “she were Hispanic” as “insufficient”
 3
     to “raise a genuine issue of fact regarding an employer’s motive.” Id. at 728. Similarly,
 4

 5   no conclusory allegations involving sex or sexual orientation can suffice here.

 6          This “third step is fatal to [Plaintiff’s] claim, as she fails to prove that [WV’s]
 7
     proffered reasons for termination were pretext for discrimination based on [sex].” Id.
 8
            C. Even If Viable, the Federal Claim Is Barred by Title VII’s Section 702 ROE.
 9
            WV continues to meet all applicable ROE tests. This includes the four-part
10

11   Spencer test, 633 F.3d at 724, and, since WV’s “purpose and character” remain

12   “primarily religious,” 570 F.Supp.2d at 1289, the Garcia test, 918 F.3d at 1003-04. The
13
     ROE bars Plaintiff’s sex-based claim for multiple independent reasons.
14
                    1. The ROE Applies Broadly.
15

16          Section 702’s ROE provides: “This subchapter shall not apply … to a religious

17   corporation … with respect to the employment of individuals of a particular religion
18
     to perform work connected with the carrying on by such corporation … of its
19
     activities.” Corp. of Presiding Bishop v. Amos, 483 U.S. 327, 329 n.1 (1987) (quoting 42
20

21   U.S.C. §2000e-1(a)). Thus, “with respect to the employment of individuals of a

22   particular religion,” Congress “‘painted with a broad[] brush, exempting religious
23
     organizations from the entire subchapter of Title VII.’” Garcia, 918 F.3d at 1004 (citation
24
     omitted; emphasis in original); Starkey, 41 F.4th at 946 (Easterbrook).15 Congress also
25

26
     15 “This subchapter” and “This title” both refer to “all of Title VII.” See also Esbeck, Federal
27

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 1   defined “religion” broadly to include “‘all aspects of religious observance and practice,
 2
     as well as belief.’” Id. (quoting 42 U.S.C. §2000e(j)). “Read plainly then, Title VII does
 3
     not apply to religious employers when they employ individuals based on religious
 4

 5   observance, practice, or belief.” Bear Creek, 571 F.Supp.3d at 590.

 6          The ROE “alleviat[es] significant governmental interference with the ability of
 7
     religious organizations to define and carry out their religious missions,” Amos, 483 U.S.
 8
     at 35, in three ways. First, the ROE covers all types of jobs. Spencer, 633 F.3d at 726
 9

10   n.3; Little, 929 F.2d at 950 (“all employees,” not just those “engaged in religious

11   activities”); Amos, 483 U.S. at 330 (janitor at gym). Second, the ROE covers all types of
12   claims because it exempts qualified employers from all of Title VII. Garcia, 918 F.3d
13
     1005-06. Third, the ROE includes both conduct and belief. 42 U.S.C. §2000e(j).16 It protects
14
     the “decision to terminate an employee whose conduct or religious beliefs are
15

16   inconsistent with those of its employer.” Hall, 215 F.3d at 624; accord SJM, 657 F.3d at

17   192. This “straightforward reading” of “702(a) permits a religious employer to require
18
     the staff to abide by religious rules,” Starkey, 41 F.4th at 946 (Easterbrook), to enable
19
     them to “define and carry out their religious missions.” Amos, 483 U.S. at 339.
20

21

22
     Contractors, Title VII, and LGBT Employment Discrimination: Can Religious Organizations Staff on
23   Religious Basis?, 4 OXFORD J.L. & RELIG. 368 (2015) (“Esbeck”).
     16 Title VII tracks Free Exercise, which “protects religiously motivated conduct as well as
24
     belief.” FCA v. San Jose Unified Sch. Dist., 46 F.4th 1075 (9th Cir. 2022) (“FCA”) (quoting
25   McConnell, The Origins and Historical Understanding of Free Exercise of Religion, 103 HARV. L.
     REV. 1409, 1488 (1990)), reh’g en banc granted, opinion vacated, 59 F.4th 997, injunction pending
26   appeal granted, 2023 WL 2754355 (9th Cir. Apr. 3, 2023) (en banc). The grant of this IPA indicates
     the court found a likelihood of success, and “[v]acated opinions remain persuasive …
27   authority.” Spears v. Stewart, 283 F.3d 992, 1017 n.16 (9th Cir. 2001).

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 1                 2. The ROE Bars All Claims (Not Just Religion-Based Claims).
 2
            The ROE exempts religious employers making religious decisions “‘from the
 3
     entire subchapter of Title VII.’” Garcia, 918 F.3d at 1004. If a “decision is founded on
 4

 5   religious beliefs, then all of Title VII drops out.” Starkey, 41 F.4th at 946 (Easterbrook).

 6   This “straightforward reading” permits termination “without regard to any of the

 7   substantive rules in Title VII,” id., including sex discrimination, as Bostock clearly
 8
     contemplated. 140 S.Ct. at 1753-54. Plain meaning controls.17
 9
            Canons of construction require the same result. First, §2000e-1(a) (aka §702(a))
10

11   contains two exemptions: the ROE and an alien exemption. “[N]one of Title VII’s

12   substantive rules applies to aliens covered by §702(a). What is true for the alien
13
     exemption must be true for the [ROE].” Starkey, 41 F.4th at 947 (Easterbrook); Bear
14
     Creek, 571 F.Supp.3d at 591. Second, §2000e-1(a) must be read to avoid constitutional
15

16   error. This “canon of constitutional avoidance counsels against [Plaintiff’s] stringent

17   interpretation of section 2000e-1 [since it] raises serious questions under both [Religion
18
     Clauses].” Spencer, 633 F.3d at 728-29 (citing NLRB v. Catholic Bishop, 440 U.S. 490, 500
19
     (1979)). The Court must reject such a “constitutionally questionable interpretation.”
20

21   633 F.3d at 729. “If World Vision qualifies for the exemption, it is entitled to terminate

22   employees for exclusively religious reasons[.]” Id. at 726 n.3.
23
            On facts resembling a “Spencer 2.0,” the Ninth Circuit rejected SSM
24

25
     17 Compare the parallel ROE in the Americans with Disabilities Act. 42 U.S.C. §12113(d)(1)
26   (“ADA”). If an exemption to employ “individuals of a particular religion” protects only
     against religious-discrimination claims, the ADA’s ROE would be nonsensical, since the ADA
27   prohibits only disability discrimination—not religious discrimination.

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 1   discrimination under Bostock since Title IX’s “religious exemption [shields] these
 2
     religiously motivated decisions.” Maxon, 2021 WL 5882035 at *2. Maxon dismissed with
 3
     prejudice as “no additional facts” could save the “challenge to Fuller’s differential
 4

 5   treatment of same-sex marriages as compared to opposite-sex marriages, since Fuller’s

 6   actions fell squarely within [the] exemption” and no court may “second-guess
 7
     [Fuller’s] interpretation of its own religious tenets.” Id. at *3 (citing Mitchell v. Helms,
 8
     530 U.S. 793, 828 (2000)). “‘Inquiry into religious views is not only unnecessary but also
 9

10   offensive.’” Spencer, 633 F.3d at 731 (quoting Mitchell).

11                 3. The ROE Precludes Plaintiff’s Claim in This Case.

12          WV’s conduct standards are “religiously motivated,” Maxon, 2021 WL 5882035
13
     at *2, i.e., “rooted in religious belief,” Wisconsin v. Yoder, 406 U.S. 205, 215 (1972), and
14
     WV is “entitled to terminate [for such] reasons.” Spencer, 633 F.3d at 726 n.3.
15

16          These reasons are clear from the record. See supra at 4-7. WV believes “effective

17   Christian witness is first expressed in the personal lives of staff[.]” Orange Book:
18
     Living Out Our Values, at 9, MF ¶53 and MF-29 (WV716). It thus requires a “common
19
     commitment to [its views of] biblical belief and conduct,” id., and reproves “[o]pen,
20

21   ongoing, unrepentant sin.” Supra at 7; MF ¶44. It requires “biblically-sound” behavior,

22   MF-18 (WV35) (SOC), such as expressing “sexuality solely within a faithful marriage
23
     between a man and a woman,” supra at 7; MF ¶42, to “honor the Biblical model of a
24
     monogamous heterosexual marriage.” Supra at 7; MF ¶¶42, 47. It thus deems “same-
25

26   sex marriages improper on doctrinal grounds.” Starkey, 41 F.4th at 946 (Easterbrook).

27   And it requires job seekers to agree to comply. Supra at 7-8; MF ¶46 (Standing Policy).

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 1           These religious policies are vital to World Vision. Supra at 3-9; MF ¶¶25-51. In
 2
     such cases, sex-based claims are barred. See, e.g., Curay-Cramer, 450 F.3d at 141; Miss.
 3
     Coll., 626 F.2d at 485; Bear Creek, 571 F.Supp.3d at 590; Maguire v. Marquette Univ., 627
 4

 5   F.Supp. 1499, 1506-07 (E.D.Wis. 1986), aff’d on narrower ground, 814 F.2d 1213, 1216 (7th

 6   Cir. 1987); Henry v. Red Hill Evangelical Lutheran Church, 201 Cal.App.4th 1041 (2011).18
 7
             D. Both Claims Are Barred by Four Separate First Amendment Doctrines.
 8
             This case is a nonjusticiable theological dispute. Even if justiciable, both claims
 9
     are barred by the Constitution. The First Amendment gives “special solicitude to the
10

11   rights of religious organizations.” Hosanna, 565 U.S. at 189. This includes the freedom

12   “to define their own doctrine, membership, organization, and internal requirements
13
     without state interference.” Demkovich, 3 F.4th at 975.19 This freedom is secured by the
14

15
     18 The asserted misconduct in Little was remarriage; in Boyd, Cline, and Henry it was sex outside
16
     marriage (evinced by pregnancy); and in Maxon, Bear Creek, Butler, and here it was sex outside
17   biblical marriage (evinced by same-sex marriage). “[That] adherence to Roman Catholic
     doctrine produces a form of sex discrimination does not make the action less religiously
18   based.” Starkey, 41 F.4th at 947 (Easterbrook, J.). That is why Fremont Christian and EEOC v.
     Pacific Press, 676 F.2d 1272 (9th Cir. 1982) are inapplicable: neither case involved an employer’s
19   action that was “religiously based”—as here—on a credible religious tenet. Instead, “both have
     ill-considered obiter dictum that [702(a)] is available only when the employee’s primary claim
20
     is for religious discrimination,” Esbeck, supra note 16 at 393, i.e., “mere chance,” id. at 376, and
21   both ignore the plain language of 702(a) without analysis. Id. at 393-96, 380 & n.49. Where does
     this odd “limitation come from?” Starkey, 41 F.4th at 946 (Easterbrook). Such dicta is further
22   eroded by later cases, such as Bostock, 140 S.Ct. at 1753-54 (ROE applies to sex claims, i.e., “cases
     like ours”); id. at 1749 (plain meaning controls); Amos, 483 U.S. at 339 (ROE covers “all activities
23   of religious employers”); Garcia, 918 F.3d at 1004 (ROE exempts “religious organizations from
     the entire subchapter of Title VII.”), Spencer, Curay-Cramer; Bear Creek; Maguire, Henry.
24
     19 The Supreme Court’s strong protection of religious freedom continues. See Roman Catholic
25   Diocese v. Cuomo, 141 S.Ct. 63 (2020) and Tandon v. Newsom, 141 S.Ct. 1294 (2021) (protecting
     religious gatherings from Covid restraints); Fulton v. City of Phila., 141 S.Ct. 1868 (2021)
26
     (protecting religious foster care agency); Ramirez v. Collier, 142 S.Ct. 1264 (2022) (protecting
27   religious inmate during execution); Shurtleff v. City of Boston, 142 S.Ct. 1583 (2022) (protecting

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 1   religious-autonomy and ministerial-exception doctrines. See OLG, 140 S.Ct. at 2060)
 2
     (“The independence of religious institutions in matters of faith and doctrine [ensures]
 3
     their autonomy with respect to internal management decisions [and] a component of
 4

 5   this autonomy is the selection of the individuals who play certain key roles.”).

 6           The parent doctrine of “autonomy” turns on the religious nature of the employer
 7
     and its decision. The subsidiary doctrine of “ministerial exception” turns on the
 8
     religious nature of the job. As the latter applies to all “claims that impinge on protected
 9

10   employment decisions regarding ‘a religious organization and its ministers,’” Puri v.

11   Khalsa, 844 F.3d 1152, 1158 (9th Cir. 2017),20 all “employment claims are precluded by
12   the ministerial exception.”21 Since both doctrines are “based in the First Amendment,
13
     [both apply] to any federal or state cause of action that would otherwise impinge on
14
     the Church’s prerogative[s].” Werft, 377 F.3d at 1100 n.1 (9th Cir). Thus, both of
15

16   Plaintiff’s claims, state and federal, are “flatly” barred. Puri, 844 F.3d at 1158. No

17   compelling interest or balancing test can save them. See OLG, 140 S.Ct. at 2060.
18
             Even if her claims could overcome that bar, both would fail two other doctrines
19

20

21
     religious flag-raiser); Carson v. Makin, 142 S.Ct. 1987 (2022) (protecting religious schools
22   regarding tuition aid); Kennedy, 142 S.Ct. 2407 (protecting prayer of football coach).
     20 Citing Elvig v. Calvin Presbyterian Church, 375 F.3d 951, 955 (9th Cir. 2004) and Bollard v. Cal.
23
     Province of the Soc’y of Jesus, 196 F.3d 940, 945 (9th Cir. 1999); accord Starkey, 41 F.4th at 943-44.
24   21 Orr v. Christian Brothers High Sch., 2021 WL 5493416, at *1 (9th Cir. 2021), (unpub.), reh’g en

25   banc denied, 2022 U.S.App.LEXIS 3004, cert. denied, 143 S.Ct. 91 (2022) (“Orr”) (dismissing all
     state and federal employment claims of former principal) (citing Werft v. Desert Sw. Annual
26   Conf., 377 F.3d 1099, 1100-01 (9th Cir. 2004) (“Werft”); see Starkey, 41 F.4th at 945 (citing Puri,
     Elvig, and Bollard to dismiss all claims that “litigate the employment relationship between the
27   religious organization and the employee”).

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 1   of the First Amendment. Laws that (a) unevenly burden religion or (b) infringe
 2
     expressive association must survive strict judicial scrutiny. As Title VII and WLAD
 3
     both contain secular exemptions, and as both infringe expressive association, neither
 4

 5   can be applied to World Vision without narrowly tailored compelling interests. “And

 6   that, in turn, is the ballgame.” FCA, 46 F.4th at 1096 (9th Cir.).
 7
                   1. Both Claims Are Barred by the Religious Autonomy Doctrine.
 8
            Courts cannot decide issues of “conformity” to religious moral standards.
 9
     SUGM, 142 S.Ct. at 1096 (Alito Statement) (quoting Watson, 80 U.S. at 733). “That is so
10

11   because the Constitution protects religious organizations ‘from secular control or

12   manipulation.’” Id. (quoting Kedroff, 344 U.S. at 116). This doctrine protects their right
13
     to “‘select their own leaders, define their own doctrines, resolve their own disputes,
14
     and run their own institutions.’” Korte v. Sebelius, 735 F.3d 654, 677 (7th Cir. 2013)
15

16   (quoting Laycock, Towards a General Theory of the Religion Clauses: The Case of Church

17   Labor Relations and the Right to Church Autonomy, 81 COLUM. L. REV. 1373, 1388-89
18
     (1981)). “[T]he importance of securing religious groups’ institutional autonomy, while
19
     allowing them to enter the public square, cannot be understated.” Whole Woman’s
20

21   Health v. Smith, 896 F.3d 362, 374 (5th Cir. 2018) (forbidding intrusive discovery).

22          Autonomy is both Religion Clauses “work[ing] in unison” to protect
23
     “employment rights of religious organizations.” Demkovich, 3 F.4th at 975. It is
24
     buttressed by related constitutional principles. “‘[F]orcing a group to accept certain
25

26   members may impair [its ability] to express those views, and only those views, that it

27   intends to express.’” Hosanna, 565 U.S. at 200 (“Alito/Kagan” concurrence) (quoting

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 1   Boy Scouts v. Dale, 530 U.S. 640, 648 (2000)). It applies regardless of the religiosity of a
 2
     plaintiff’s role, and it outweighs all competing interests, including “eliminating
 3
     employment discrimination.” EEOC v. Catholic Univ., 83 F.3d 455, 467 (D.C. Cir. 1996).
 4

 5          Directly on point is Bryce v. Episcopal Church, 289 F.3d 648 (10th Cir. 2002) (cited

 6   with approval in Hosanna, 565 U.S. at 188 n.2). Bryce did not reach the “ministerial
 7
     exception” because plaintiff’s claims were precluded by the “broader church
 8
     autonomy doctrine.” Id. at 657, 658 n.2. Judicial intervention was barred because the
 9

10   personnel decisions about sexual conduct were “rooted in religious belief.” Id. at 660

11   (quoting Yoder, 406 U.S. at 215); accord Butler, 609 F.Supp.3d at 199; MF ¶¶50-51
12   (explaining religious dimension of the decision-making process).
13
            By not complying with WV’s biblical Standards of Conduct, Plaintiff breached
14
     its “standard of morals,” Watson, 80 U.S. at 733, via “misconduct [that] is ‘rooted in
15

16   religious belief.’” Bryce, 289 F.3d at 657. In sum, “[e]ven if [Plaintiff] did not qualify as

17   a ministerial employee[,] summary judgment would be required [by] church
18
     autonomy [which] is broader [and applies] where (as here) the[re is] a religious reason
19
     for termination.” Butler, 609 F.Supp.3d at 198.
20

21                 2. Both Claims Also Are Barred by the Ministerial Exception.

22          “The Supreme Court has broadly defined what employment positions are
23
     eligible for [the ministerial] exception.” Orr, 2021 WL 5493416 at *1. These include all
24
     staff who perform (a) “important religious functions,” Hosanna, 565 U.S. at 192, or (b)
25

26   “certain key roles.” OLG, 140 S.Ct. at 2060. Prototypical staff are those who (i)

27   “personify” an employer’s beliefs, Hosanna, at 188, or (ii) serve as a “messenger” or

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 1   “voice for [its] faith.” Id. at 199, 201 (Alito/Kagan); accord OLG, 140 S.Ct. at 2064
 2
     (“messenger”); Starkey, 41 F.4th at 940 (same); id. (“press secretaries”). Such staff need
 3
     not be religious “leaders,” need not “minister to the faithful,” and need not do more
 4

 5   than “simply relay religious tenets.” OLG, 140 S.Ct. at 2067 n.26 (rejecting such

 6   requirements). Ministerial roles are defined by employers, not employees. See id. at
 7
     2066 (deference is due an employer’s “definition and explanation of their roles” and
 8
     their “role [in] the life of the religion”).22
 9

10          Titles mean little. “What matters, at bottom, is what an employee does,” OLG,

11   140 S.Ct. at 2064, and “[w]hat an employee does involves what an employee is

12   entrusted to do, not simply what acts an employee chooses to perform.” Starkey, 41
13
     F.4th at 941. What matters are her “job duties” and “responsibilities,” as defined by
14
     “her employment documents,” id., including job description, contract, and handbook.
15

16   Id. at 937-41. See Hosanna (using “duties” 11 times); OLG (using “responsibility[ies]” 14

17   times). Citing Hosanna and OLG, Starkey rejected the plaintiff’s argument that she
18
     rarely performed religious duties. 41 F.4th at 941. Here, what matters are the employer-
19
     defined job duties that Plaintiff would have been responsible for. 140 S.Ct. at 2066.
20

21          This question has answers both general and specific. Spencer provides the

22

23
     22 OLG applied these principles to reverse two Ninth Circuit decisions that found “lay
24
     teachers” of “secular” subjects with no religious training or requirements other than a half-
25   day conference insufficiently religious to qualify. OLG’s rationale abrogates or erodes prior
     circuit precedent on the subject, such as Puri, Elvig, and Bollard. But see Werft (cited approvingly
26   by Hosanna, 565 U.S. at 188 n.2). To the extent they have ongoing vitality, Elvig and Bollard
     support WV’s case. See Butler, 609 F.Supp.3d at 200; Tucker v. Faith Bible, 36 F.4th 1021, 1027 n.2
27   (10th Cir. 2022); and id. at 1066 (Bacharach, J., dissenting).

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 1   general answer. It found all World Vision staff responsible for: (1) confessing they are
 2
     committed Christians (633 F.3d. at 739-40); (2) agreeing “wholeheartedly” with its core
 3
     principles (id.); (3) “communicating [its] Christian faith [and] witness,” which is
 4

 5   “integrated [into] everything [it] does,” “accurately and with integrity” (id. at 738); and

 6   (4) participating “regularly” in “prayer activities, [daily] devotionals, and weekly
 7
     chapel services.” 570 F.Supp.2d at 1288. Those requirements continue today, including
 8
     the core element of prayer, MF at ¶¶25-27, 55; SO ¶¶11-13; id. at 14-41, which
 9

10   “unquestionably constitutes the ‘exercise’ of religion.”23 WV exists “only” to “spread”

11   its “Christian faith” as “infallibl[y]” and “authoritative[ly]” established by “the Bible.”

12   633 F.3d at 736. WV’s workforce consists “only [of] Christians,” 570 F.Supp.2d 1289–of
13
     whom it requires a “commitment to [this] shared faith [and] a common understanding
14
     of how that faith is lived out day-to-day,” id. at 1282, empowering them to “live out
15

16   their faiths in daily life.”24 Clearly, then, all staff are responsible for “important

17   religious functions.” Hosanna, 565 U.S. at 192.
18
             The specific answer comes from indisputable evidence defining the DCS role
19
     Plaintiff sought. First, that role is “key.” OLG, 140 S.Ct. at 2060. That is why 9-11 weeks
20

21   of training are required to join DCS, whose “Mission Statement” begins, “Consumed

22   and called by Jesus Christ.” SO ¶¶19. Second, “[b]eing a part of DCS means you are
23
     the Voice, Face and Heart of World Vision.” Id. Third, the role is utterly religious. See
24

25

26   23 Sause v. Bauer, 138 S.Ct. 2561, 2562 (2018).

27   24 Kennedy, 142 S.Ct. at 2421.


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 1   SO ¶¶19-48 (detailed explanation).
 2
            Plaintiff’s own evidence proves this. Under the Job Posting she would have to:
 3
          Help carry out our Christian organization’s mission, vision, and strategies.
 4        Personify the ministry of World Vision by witnessing to Christ and
 5        ministering to others through life, deed, word and sign. [K]eep Christ
          central in our individual and corporate lives. Attend and participate in the
 6        leadership of devotions, weekly Chapel services, and regular prayer.
 7
     SO-01 (P0013-15); SO ¶22. She would interact all day with the ministry’s donors, its
 8
     lifeblood, always “sensitive to [their] needs and pray[ing] with them,” id., since
 9

10   transformation of donors remains as vital to WV as that of the children they sponsor.

11   SO ¶¶23, 42-50. In sum, a DCSR is a “crucial member” of the DCS team and “key
12   liaison and ‘voice of World Vision” and would need to carry out these duties
13
     “persuasively and convincingly.” SO ¶¶24, 57. Clearly, her “job did, and would have
14
     continued to, include important ministerial duties.” Butler, 609 F.Supp.3d at 196.
15

16          These ministerial duties of a DCSR are demonstrated by five companywide

17   chapel services led by DCS. See SO ¶¶25-36; MF ¶52. These services speak for
18
     themselves. The 2019 service vividly displays the DCS that Plaintiff sought to join,. SO-
19
     13, as DCS managers and DCSRs testify powerfully to the ministerial nature of their
20

21   job duties and activities. SO ¶¶25-36. Clearly, DCS is no common call center. Praying

22   with and being the “voice, face, and heart” of WV to countless callers is pivotal activity.
23
     Id. As a DCSR, Plaintiff’s duties would include praying faithfully with donors, as
24
     illustrated by ten representative calls where DCSRs prayed with donors about their
25

26   needs and the needs of the children they sponsor. SO ¶¶37-39. Sample “shout-outs”

27   from DCS managers magnify this point. SO ¶¶40-41.

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 1          As a DCSR, Plaintiff would meet the ministerial exception in many ways. First,
 2
     she would be a “key” “messenger” and “voice of World Vision.” SO ¶¶17, 19, 24, 35-
 3
     36, 42, 57. Second, she would educate and “personify its ministry” to its callers. SO
 4

 5   ¶¶4, 22, 42, 57. Third, she would support donor transformation via “Christ’s

 6   transforming love, grace, and power.” SO ¶¶23, 42-50. Fourth, she would combine
 7
     with likeminded colleagues to be “God’s hands and feet” in the “body of Christ.” SO
 8
     ¶¶35, 40-42. Fifth, she would perform “ministry” through fundraising itself. SO ¶43-
 9

10   44. All this she would do “convincingly” to advance WV’s “Christian” “mission,

11   vision, and strategies.” SO ¶¶24, 45, 57. All day she would speak with donors and
12   colleagues amid opportunities to “[p]ray, pray again, and pray some more,” seeking
13
     God’s blessing on WV, its donors, and its programs, as “resourced by Him.” SO ¶¶15,
14
     45-47. To do all this, she had to live it. SO ¶¶24, 48, 57; MF ¶¶23, 33-38, 48, 56.
15

16          “In the end, OLG commands that courts afford meaningful deference to [such

17   employer attestations of] ministerial duties.” Butler, 609 F.Supp.3d at 197 (citing OLG,
18
     140 S.Ct. at 2066). Any other view “would require the Court to disregard [World
19
     Vision’s] evidence—discussed above at length—that [Plaintiff] was obligated to live
20

21   [the mission] every day by word and deed.” Id. at 196. “This evidence, when

22   considered holistically, is fatal to [her] claim.” Id.
23
            Plaintiff herself reinforces World Vision’s case. She testified that her SSM and
24
     beliefs would make her unfit to answer any donor questions about WV’s beliefs on
25

26   marriage and sexual conduct beyond reciting WV policy from a script. See Pl.’s Dep.,

27   SW-01, at 201-03.

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 1          Yet, Plaintiff was to “personify,” Hosanna, 565 U.S. at 188, be a “voice” for, id. at
 2
     201 (Alito/Kagan), and be a “messenger” for WV’s faith. Id. at 199; accord OLG, 140
 3
     S.Ct. at 2064; Starkey, 41 F.4th at 940. Any of these would suffice. But her role required
 4

 5   more. It required her wholehearted assent—sharing WV’s convictions—to perform

 6   and promote it “accurately and with integrity,” “persuasively and convincingly,” to
 7
     donors, supporters, colleagues, and the public. She was to “live[ it] out day-to-day.”
 8
     Those were her responsibilities. They were religious. They were important. They were
 9

10   key to WV’s mission. The ministerial exception applies.

11                 3. Both Claims Also Fail Strict Scrutiny Under Two Doctrines.

12          World Vision’s “beliefs about marriage and sexuality fall within the ambit of
13
     the First Amendment,” FCA, 46 F.4th at 1093, which protects “religious” “objections
14
     to gay marriage.” Id. (quoting Masterpiece Cakeshop v. Colo. Civil Rights Com’n, 138 S.Ct.
15

16   1719, 1727 (2018)). “Although this is a civil lawsuit between private parties, the

17   application of [law by] courts in a manner alleged to restrict First Amendment
18
     freedoms constitutes [state action].” NAACP v. Claiborne Hardware, 458 U.S. 886, 916
19
     n.51 (1982) (citing NY Times v. Sullivan, 376 U.S. 254, 265 (1964)); accord Cohen v. Cowles
20

21   Media, 501 U.S. 663, 668 (1991). Thus, the “Free Exercise Clause is applicable in private

22   civil suits.” Listecki v. Official Comm. of Unsecured Creditors, 780 F.3d 731, 741 (7th Cir.
23
     2015) (citing Hosanna and NY Times); accord Paul v. Watchtower Bible, 819 F.2d 875, 880
24
     (9th Cir. 1987) (citing NY Times); Fratello v. Archdiocese of N.Y., 863 F.3d 190, 204 (2d Cir.
25

26   2017) (citing Hosanna). This lawsuit injures freedoms of religion and expressive

27

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 1   association and it “cannot survive” strict scrutiny. FCA, 46 F.4th at 1094.25
 2
                           a. Both Claims Violate Free Exercise Protections.
 3
            The free exercise inquiry is controlled by Tandon and Fulton. In protecting at-
 4

 5   home religious gatherings from pandemic restrictions, Tandon held that “regulations

 6   are not neutral and generally applicable, and therefore trigger strict scrutiny under the

 7   Free Exercise Clause, whenever they treat any comparable secular activity more
 8
     favorably than religious exercise.” 141 S.Ct. at 1296. In protecting a religious foster care
 9
     agency from pressure to certify same-sex couples, Fulton held that the city “plain[ly]
10

11   burdened CSS’s religious exercise by putting it to the choice of curtailing its mission

12   or approving relationships inconsistent with its beliefs.” 141 S.Ct. at 1876. Exemptions
13
     to the city’s policy subjected it to “the strictest scrutiny.” Id. at 1881. “Put another way,
14
     so long as the government can achieve its interests in a manner that does not burden
15

16   religion, it must do so.” Id. “General applicability requires, among other things, that

17   the laws be enforced evenhandedly.” Waln v. Dysart Sch. Dist., 54 F.4th 1152, 1159 (9th
18
     Cir. 2022). The reason for strict scrutiny “is obvious: if a government can easily grant
19
     an exemption, then the law stops being applied neutrally or generally.” FCA, 46 F.4th
20

21   at 1093 (applying Tandon and Fulton).

22          The secular exemptions in Title VII and WLAD compel the same result here.
23
     Title VII exempts businesses with fewer than 15 employees. It permits employers to
24
     fire employees with Communist affiliations, permits employers on or near Indian
25

26
     25 WV reserves its defenses under the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb-
27   1 et seq. (“RFRA”), but does not seek summary judgment here based upon RFRA.

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 1   reservations to favor Indians, and exempts certain jobs due to bona fide occupational
 2
     qualifications (“BFOQs”). 42 U.S.C. §2000e-2. WLAD has analogous exceptions. See
 3
     RCW 49.60.040(11) (exempting employers with fewer than eight employees); RCW
 4

 5   49.60.040(10) (exempting employers of family members and domestic workers by

 6   excluding them from definition of employee); RCW 49.60.180(1) (BFOQ).26
 7
            The small-employer exemption alone excludes millions of employers and
 8
     employees.27 Additional employers, and additional positions, are exempt under
 9

10   discretionary exemptions above.28 All these exempt employers can discriminate on any

11   ground with relative impunity.

12          Thus, “Title VII is not a generally applicable statute due to the existence of
13
     individualized exemptions[.]” Bear Creek, 571 F.Supp.3d at 613. The notion that Title
14
     VII must be uniformly enforced to “eradicate[e] all forms of discrimination is undercut
15

16   by” those secular exemptions. Id. Title VII is not being “enforced evenhandedly and,

17   therefore, [i]s not generally applicable.” Waln, 54 F.4th at 1159. Its exemptions do more
18

19
     26 WV has proven that the Christian nature of DCSRs is a BFOQ, entitling it to dismissal on
20
     this ground as well. “One key exception to Title VII’s prohibition on hiring on the basis of
21   religion is applicable if ‘a [BFOQ] reasonably necessary to the normal operation of that
     particular business’ [exists].” McCollum v. Cal. Dep’t of Corr., 647 F.3d 870, 881 (9th Cir. 2011).
22   Here, the DCSR’s religious requirements “affect an employee’s ability to do the job,” and
     “relate to the essence or to the central mission of [its] business.” EEOC v. Kamehameha Schools,
23   990 F.2d 458, 465-66 (9th Cir. 1993).
24   27 See CRS Rept. 40860 (1/15/2022) https://crsreports.congress.gov/product/pdf/R/R40860

     (Small Business Size Standards).
25
     28 Formalized exemptions, such as Title VII’s, present an easy case under Fulton. FCA, 46 F.4th
26   at 1096. They also present the worst case, id. (rejecting “cramped and distorted reading
     of Fulton”), since officials have discretion over decisive facts—e.g., sufficiency of Communist
27   affiliation, Indian heritage, or BFOQ.

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 1   harm to its anti-discrimination goals than a religious exemption does. They provide
 2
     not “evenhanded, across-the-board” treatment, Kennedy, 142 S.Ct. at 2423, but vast
 3
     potential for treating “any comparable secular activity more favorably than religious
 4

 5   exercise.” Tandon, 141 S.Ct. at 1296. Such policies conflict with Tandon’s holding “that

 6   religious groups should be treated the same as comparable secular groups.” FCA, 46
 7
     F.4th at 1096 n.8 (9th Cir.). There can be “no compelling reason [to] deny[] an exception
 8
     to [WV] while making them available to others.” Fulton, 141 S.Ct. at 1882. “[L]aws
 9

10   which are ‘underinclusive’ as written or applied cannot be upheld.” FCA, 46 F.4th at

11   1098. A lawsuit like this one “cannot—and does not—advance its interest in
12   nondiscrimination by discriminating.” Id. at 1099.
13
            In any event, the denial of an exemption clearly is not the “least restrictive
14
     means of achieving some compelling state interest.” Thomas v. Review Bd., 450 U.S. 707,
15

16   718 (1981). Under this “most demanding test known to constitutional law,” City of

17   Boerne v. Flores, 521 U.S. 507, 534 (1997), “only those interests of the highest order [can]
18
     overbalance legitimate claims to the free exercise of religion.’” Thomas, 450 U.S. at 718
19
     (quoting Yoder, 406 U.S. at 215). Such interests cannot be “broadly formulated,”
20

21   Ramirez, 142 S.Ct. at 1278 (quoting Burwell v. Hobby Lobby Stores, 573 U.S. 682, 726-27

22   (2014)), but instead must be “properly narrowed,” Fulton, 141 S.Ct. at 1881-82, and
23
     “compelling in context.” Cutter v. Wilkinson, 544 U.S. 709, 723 (2005); accord Gonzales v.
24
     O Centro Espirita, 546 U.S. 418, 431 (2006). “Rather than rely on broadly formulated
25

26   interests, courts must scrutinize the asserted harm of granting specific exemptions to

27   particular religious claimants.” Fulton, 141 S.Ct. at 1881 (citations and internal

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 1   punctuation omitted). As for the least restrictive means, “so long as the government
 2
     can achieve its interests in a manner that does not burden religion, it must do so.” Id.
 3
            This test cannot be met here. Denying exemption to WV would do the opposite
 4

 5   of what the First Amendment requires: to “preserv[e] the promise of the free exercise

 6   of religion,” Bostock, 140 S.Ct. at 1754, by providing “proper protection” to WV as it
 7
     seeks to live-out its belief “that, by divine precepts, same-sex marriage should not be
 8
     condoned,” Obergefell v. Hodges, 576 U.S. 644, 679 (2015). The interest of “highest order”
 9

10   here is protecting “deep and sincere religious beliefs” opposed “to gay marriage.”

11   Masterpiece Cakeshop, 138 S.Ct. at 1727, which Congress says are “due proper respect.”
12   Respect for Marriage Act, Pub. L. 117-228, §2(2) (Dec. 13, 2022).
13
                          b. Both Claims Violate Expressive Association Protections.
14
            The expressive association inquiry is controlled by Kennedy, Dale, Hurley v. Irish-
15

16   American Gay, 515 U.S. 557 (1995), and Roberts v. U.S. Jaycees, 468 U.S. 609 (1984). This

17   freedom prohibits “intrusion into the internal structure or affairs of an association,” id.
18
     at 623, and “plainly presupposes a freedom not to associate.” Id. In both situations,
19
     courts “give deference to an association’s assertions regarding the nature of its
20

21   expression [and] must also give deference to an association’s view of what would

22   impair its expression.” Dale, 530 U.S. at 653. “[This rule] applies with special force [to]
23
     religious groups, whose very existence is dedicated to the collective expression and
24
     propagation of shared religious ideals.” Hosanna, 565 U.S. at 200 (Alito/Kagan).
25

26   Indeed, “the First Amendment necessarily protects the right of those who join together

27   to advance shared beliefs, goals, and ideas, which, if pursued individually, would be

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 1   protected by the First Amendment.” Sullivan v. Univ. of Wash., 60 F.4th 574, 579 (9th Cir.
 2
     2023). The Free Exercise Clause “work[s] in tandem” with the Free Speech Clause,
 3
     “doubly protect[ing]” “expressive religious activities.” Kennedy, 142 S.Ct. at 2421;
 4

 5   Green, 52 F.4th at 787 n.14.29

 6          World Vision is “a community of Christians” that exists to “preach the Gospel
 7
     [of] Jesus Christ [and] spread [] the Christian religion.” Spencer, 633 F.3d at 736, 741 &
 8
     n.23. It therefore requires “biblically-sound” behavior, including expressing “sexuality
 9

10   solely within a faithful marriage between a man and a woman” to “honor the Biblical

11   model [of] marriage.” Thus, it “takes an official position with respect to homosexual
12   conduct, and that is sufficient for First Amendment purposes.” Dale, 530 U.S. at 655.
13
     This is how it defines itself, the “nature of its expression,” and “what would impair
14
     it[.]” Id. at 653. It may exclude from its workforce those who openly defy it.
15

16          Denying WV this right fails all judicial tests. First, it fails each element of the

17   strict scrutiny of Roberts, which requires (a) “compelling state interests” (b) “unrelated
18
     to the suppression of ideas” (c) “that cannot be achieved through means significantly
19
     less restrictive of associational freedoms.” 468 U.S. at 623. Here, the application of
20

21   antidiscrimination law to WV, far from being “unrelated to the suppression of ideas,”

22   suppresses certain ideas about sexual conduct and SSM. That failure alone is fatal. It
23
     also fails the other two elements for the reasons it failed them in the free exercise
24

25
     29 See also Paul, 819 F.2d at 883 (9th Cir.) (“The members of [plaintiff’s church] no longer want
26   to associate with her. We hold that they are free to make that choice.”); Spencer, 570 F.Supp.2d
     at 1289 (its “membership is comprised of coreligionists”); 633 F.3d at 730 (analogizing
27   “employees” to “members”).

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 1   inquiry above. See supra at 29-33.
 2
            Second, it fails the more tailored scrutiny of Dale, because the “forced inclusion”
 3
     of a person in Plaintiff’s position would “significantly burden” World Vision’s “right
 4

 5   to oppose or disfavor homosexual conduct,” a “severe intrusion” on its “freedom of

 6   expressive association.” Dale, 530 U.S. at 656-59 (applying Hurley); accord Green, 52
 7
     F.4th at 779-92 (9th Cir.) (citing Hurley 28 times); id. at 806-08 (concurrence, citing
 8
     Hurley seven times) (“Speech and association claims often run together.”). In sum, the
 9

10   “right to expressive association allows [WV] to determine that its message will be

11   effectively conveyed only by employees who sincerely share its views.” Slattery v.
12   Hochul, 61 F.4th 278, 288 (2d Cir. 2023).
13
            E. Plaintiff’s State Claim Also Is Barred by the State ROE.
14
            WLAD provides an ROE. RCW 49.60.040(11) (“‘Employer’ … does not include
15

16   any religious or sectarian organization not organized for private profit.”).

17   Washington’s highest court has construed this state ROE to apply to positions that
18
     qualify for the ministerial exception. See Woods v. SUGM, 197 Wash.2d 231, 246-52
19
     (2021). Since the DCSR position that Plaintiff sought qualifies for this exception, it
20

21   qualifies for WLAD’s ROE.

22          In any case, Plaintiff’s state claim must bow to the U.S. Constitution. The
23
     unconstitutional adjudication of her discrimination claims “present compelling
24
     circumstances of irreparable harm.” Doe v. Trump, 288 F.Supp.3d 1045, 1054
25

26   (W.D.Wash. 2017) (Robart, J.). “The ministerial exception bars all her claims, federal

27   and state.” Starkey, 41 F.4th at 945. The same is true for every WV defense “based in

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 1   the First Amendment,” Werft, 377 F.3d at 1100 n.1. “Because I hold that the First
 2
     Amendment requires summary judgment … (for two separate reasons), I do not reach
 3
     the statutory question.” Butler, 609 F.Supp.3d at 190. As the First Amendment bars
 4

 5   “not only unconstitutional laws, but [also] unnecessary litigation that chills”

 6   constitutional rights, it is “important” to resolve “First Amendment cases at the earliest
 7
     possible junction.” Green, 52 F.4th at 800. This Court should “bypass[]” all secondary
 8
     issues to “resolve the claim immediately on First Amendment grounds.” Id. at 796.
 9

10          The state claim must be decided. “[D]iversity-of-citizenship jurisdiction—not

11   just supplemental jurisdiction,” Clark v. Matthews Int’l Corp., 639 F.3d 391, 396 (8th Cir.
12   2011), mandates its retention. Where “diversity” presents “an independent
13
     jurisdictional basis for the state law claims,” a district court has a “‘virtually unflagging
14
     obligation’ to exercise [that] jurisdiction.” Williams v. Costco, 471 F.3d 975, 977 (9th Cir.
15

16   2006) (citation omitted). There is “no discretion to remand [the] case after elimination

17   of the federal claim … if diversity of citizenship then exists.” Holden v. Haynes, 2014
18
     WL 2094344, at *2 (E.D. Wash. 2014) (citing Costco).
19
            Even if this “independent basis of federal jurisdiction,” Maguire, 814 F.2d at
20

21   1218, did not require a decision on the state claim now, it would require one later upon

22   removal. But it would be “uneconomical, inconvenient, and unnecessary to remand
23
     the state law claims to [state] courts,” Melton v. Alaska Career Coll., 738 F.App’x 895, 897
24
     (9th Cir. 2018); Martin v. Church, 2022 WL 3348382, at *8 (W.D.N.Y. 2022) (dismissing
25

26   Title VII claim on constitutional grounds but retaining state claims in “the interests of

27   judicial economy, convenience, and fairness”) (citing Werft). This Court should follow

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 1   the “well-trodden path” of “reaching and deciding a dispositive First Amendment
 2
     issue that will avoid forcing the parties through unnecessary and protracted
 3
     litigation.” Green, 52 F.4th at 800 (9th Cir); see also Doe, 288 F.Supp.3d at 1054.
 4

 5          VI. CONCLUSION.

 6          Dismissal is required on jurisdictional grounds. Dismissal also is warranted

 7   since “no additional facts [could] save [Plaintiff’s] challenge to [World Vision’s]
 8
     differential treatment of same-sex marriages as compared to opposite-sex marriages,
 9
     since [its] actions fell squarely within [the] religious exemption.” Maxon, 2021 WL
10

11   5882035 at *3. Dismissal also is required on First Amendment grounds, which support

12   an efficient resolution of all claims. This lawsuit would punish World Vision for
13
     engaging in “religious observance doubly protected by the Free Exercise and Free
14
     Speech Clauses.” Kennedy, 142 S.Ct. at 2432-33. “The Constitution neither mandates
15

16   nor tolerates that kind of discrimination.” Id. “Respect for religious expression is

17   indispensable to life in a free and diverse Republic[.]” Id.
18
            This case should be dismissed with prejudice.
19
            Respectfully submitted,
20

21          DATED this April 11, 2023

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13         I certify that this memorandum contains 10,499 words, in compliance with the

14   10,500-word limit in the Court’s Order on Over-Length Briefs filed 4/5/2023 (Dkt. 21).
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